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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         FORT LAUDERDALE DIVISION

 TED MENDEZ,                             Case No.:     22-62112-CIV-DIMITROULEAS
 and other similarly situated
 individuals,

       Plaintiff(s),
 v.

 WASH PLUS, LLC,
 and MICHAEL D. KELCH, individually,

       Defendants.
                                             /


       DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS AND
              CORPORATE DISCLOSURE STATEMENT

       Defendants, Wash Plus, LLC and Michael D. Kelch (collectively,

 “Defendants”), by counsel, hereby discloses the following pursuant to this Court’s

 Order:

       1.     The name of each person, attorney, association of persons, firm, law

 firm, partnership, and corporation that has or may have an interest in a party to

 this action or in the outcome of this action, including subsidiaries, conglomerates,

 affiliates, parent corporations, publicly traded companies that own 10% of more of

 a party’s stock, and all other identifiable legal entities related to a party:

              a. Ted Mendez – Plaintiff

              b. Zandro E. Palma, Esq.– Counsel for Plaintiff
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             c. Zandro E. Palma, P.A.– Counsel for Plaintiff

             d. Wash Plus, LLC – Defendant

             e. Michael D. Kelch – Defendant

             f. Alyssa Castelli, Esq. – Counsel for Defendant

             g. Jamie White, Esq. – Counsel for Defendant

             h. Spire Law, LLC – Counsel for Defendant

       2.    The name of every other entity whose publicly traded stock, equity,

 or debt may be substantially affected by the outcome of these proceedings: None.

       3.    The name of every other entity which is likely to be an active

 participant in the proceedings, including the debtor and members of the creditors’

 committee (or if no creditors’ committee the 20 largest unsecured creditors) in

 bankruptcy cases: None.

       4.    The name of each victim (individual or corporate) of civil and

 criminal conduct alleged to be wrongful in these proceedings, including every

 person who may be entitled to restitution: Plaintiff, Ted Mendez.

       5.    I certify that I am unaware of any actual or potential conflict of interest

 involving the District Judge and Magistrate Judge assigned to this case and will

 immediately notify the Court in writing upon learning of any such conflict.




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 Dated this 3rd day of February, 2023

                                        Respectfully submitted,

                                               SPIRE LAW, PLLC
                                               2572 W. State Rd. 426, Suite 2088
                                               Oviedo, FL 32765

                                               /s/Alyssa Castelli
                                               Alyssa Castelli, Esq.
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                                               Jamie White, Esq.
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                                               Attorneys for Defendant

                            CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of February, 2023., the foregoing was

 electronically filed through the CM/ECF system, which will send a notice of

 electronic filing to Plaintiff’s counsel, Zandro E. Palma, Esq. Zandro E. Palma, P.A.;

 9100 S. Dadeland Blvd. Suite 1500 Miami, FL 33156.

                                                       /s/ Alyssa Castelli
                                                       Attorney




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